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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,
                                            Plaintiff,

                                                                  Case #14-CR-6136-FPG
v.
                                                                  DECISION AND ORDER

JARA JENKINS CARMICHAEL,

                                    Defendant.
________________________________________________


       By Text Order dated August 26, 2014, this case was referred to United States Magistrate

Judge Jonathan W. Feldman, pursuant to 28 U.S.C. §§ 636(b)(1)(A) and (B). ECF No. 4.

Defendant Jara Jenkins Carmichael is charged in Count 2 of the Second Superseding Indictment

with conspiring to possess with intent to distribute cocaine and cocaine base in violation of 21

U.S.C. § 846. ECF No. 55.

       Defendant has moved to suppress wiretap evidence, GPS warrants, statements she made

during a proffer session, and evidence obtained through the execution of search warrants, and

additionally has moved to dismiss the Indictment and to sever her trial from her co-defendants.

ECF Nos. 107, 127. After receiving briefing from the parties and hearing argument on the

applications, Magistrate Judge Feldman issued his Report and Recommendation (ECF No. 234),

which recommends the denial of Defendant’s motions. No objections have been filed to the

Report and Recommendation, and the time to do so has now expired.

       In reviewing a Report and Recommendation, this Court “may accept, reject, or modify, in

whole or in part, the findings or recommendations made by the magistrate judge.” 28 U.S.C. §

636(b)(1)(C). Since no objections were filed, this Court is not required to conduct a de novo

review of Magistrate Judge Feldman’s Report and Recommendation. Thomas v. Arn, 474 U.S.
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140, 150 (1985) (“It does not ap
                               ppear that Co
                                           ongress intennded to requuire district ccourt review
                                                                                              w of a

magistratte’s factual or legal con
                                 nclusions, un
                                             nder a de noovo or any oother standaard, when neeither

party objjects to thosse findings”)); see also United
                                               U      Statess v. Male Juuvenile, 121 F.3d 34, 38 (2d

Cir. 1997
        7) (“We hav
                  ve adopted th
                              he rule that failure
                                           f       to objject timely tto a magistraate judge’s rreport

may operate as a waaiver of any
                              y further jud
                                          dicial review
                                                      w of the deccision, as long as the parties

receive clear
        c     notice of
                     o the conseequences of their
                                            t     failure to object.”)). Magistratte Judge Felddman

also reminded the paarties of Fed
                                d. R. Crim. P. 59(b)(2), stating thatt “Failure tto file objecctions

        he specified time or to request
within th                       r       and
                                          d extension oof such timee waives thee right to ap
                                                                                           ppeal

the Distrrict Court’s Order.” ECF
                              E No. 234. (Emphasis in original)..

        Since no objjections hav
                               ve been fileed, this Couurt accepts and adopts the Reportt and

Recomm                        d States Maagistrate Judgge Jonathan W. Feldmaan (ECF No. 234)
     mendation fileed by United

in its enttirety, and Defendant’s
                      D           motions to suppress, too dismiss, aand to sever (ECF Nos. 107,

127) are denied in alll respects.

         T IS SO ORD
        IT         DERED.

DATED::         July 6,
                     6 2017
                Rocheester, New York
                                Y

                                              __________________________________________
                                              HON. FRANANK P. GER    RACI, JR.
                                              Chief Judgee
                                              United Statees District C
                                                                      Court




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